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             1     JOAN JACOBS LEVIE, #179787
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             4
                 Attorney for Defendant, FERNANDO GALVAN-DURAN
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             7
                                              UNITED STATES DISTRICT COURT
             8

             9                               EASTERN DISTRICT OF CALIFORNIA

            10                                                *****
            11                                                )
                 UNITED STATES OF AMERICA,
                                                              ) CASE NO. 1: 08-cr-00264 LJO (004)
            12                                                )
                 ……….Plaintiff,
                                                              ) EX PARTE REQUEST TO CHANGE DATE OF
            13   vs.                                          )
                                                              ) BAIL REVIEW HEARING;
            14   FERNANDO GALVAN-DURAN, et al.,               )
                        Defendant.                            ) ORDER
            15                                                )
                 ____________________________________
            16
                          Defendant FERNANDO GALVAN-DURAN, by and through his attorney of record, JOAN
            17

            18   JACOBS LEVIE, hereby requests that his bail review hearing, currently calendared for

            19   Wednesday, February 4, 2009, at 1:30 P.M. in the Courtroom of Magistrate Judge Sandra Snyder,
            20
                 be rescheduled until February 11, 2009 at 1:30 P.M. in the Courtroom of Magistrate Judge Sandra
            21
                 Snyder. The reason for the one week delay is to allow sufficient time for Pretrial Services to
            22
                 interview him and write a report as well as to allow counsel to prepare and file a memorandum.
            23

            24            DATED:       February 3, 2009                Respectfully submitted,

            25                                               /S/ Joan Jacobs Levie
                                                             JOAN JACOBS LEVIE
            26
                                                             Attorney for Defendant,
            27                                               FERNANDO GALVAN-DURAN
                 //////
            28   //////

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             1

             2   IT IS SO ORDERED.

             3   Dated:   February 3, 2009                /s/ Sandra M. Snyder
             4
                                                       SANDRA M. SNYDER
             5
                                                       U.S. MAGISTRATE JUDGE
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